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                                     UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

                                                                         www.flsb.uscourts.pov
                                                      CHAPTER 13 PLAN (Individual Adjustment of Debisj

                              □                                          Original Plan

                              g] FIRST                                   Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)

                              □                                          Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

    DEBTOR: DAYLEE GARCIA                                    JOINT DEBTOR:                                          CASE NO.: 23-16998-LMI

    SS#: xxx-xx- 6997                                            SSU: xxx-xx-

    I.           NOTICES

                 To Debtors:         Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans and
                                     modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Local
                                     Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of filing
                                     the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
                 To Creditors:       Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                                     be reduced, modified or eliminated.
                 To All Parties:     The plan contains no nonstandard provisions other than those set out in paragraph DC. Debtor(s) must check one box
                                     on each line listed below in this section to state whether the plan includes any of the following:

         The valuation of a secured claim, set out in Section III, which may result in a                             [~1   Included        II Not included
         partial payment or no payment at all to the secured creditor
         Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set                     □ Included            [■] Not included
         out in Section III
         Nonstandard provisions, set out in Section IX                                                               [■]   Included        r~|   Not included
    II.         PLAN PAYMENTS. LENGTH OF PLAN AND DEBTORfSJ* ATTORNEY’S FEE.

                A.      MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee’s
                        fees of 10%, beginning 30 days from the filin^conversion date. In the event the trustee does not retain the full 10%, any unused
                        amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                        1.    $637.16               for months   1   to 60      ;

                B.      DEBTORfSV ATTORNEY'S FEE;                                          □ NONE     □ PRO BONO
             Total Fees:                $4,650.00          Total Paid:              $2,000.00          Balance Due:            $2,650.00

             Payable _            $265.00           /month (Months _j_ to 10 )
             Allowed fees under LR 2016-1(B)(2) are itemized below:
              Safe Harbor: $4,500 Attorney's Fees + $150 Costs = $4,650

              Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
    III.         TREATMENT OF SECURED CLAIMS □ NONE
                A. SECURED CLAIMS; □ NONE
                [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Li en on Real or Personal Property:
              1. Creditor: CARMEL AT THE CALIFORNIA CLUB CONDOMINIUM '25' ASS
                  Address: BLG Association Law,                  Arrearage/ Payoff on Petition Date   $2,678.58
                              PLLC
                                                                 Arrears Payment (Cure)                           $53.57      /month (Months     11   to 60 )
                              301 W PLATT ST #375
                              Tampa, FL 33606                    Regular Payment (Maintain)                       $71.00      /month (Months     1    to 60 )

              Last 4 Digits of
              Account No.:

              Other:




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                                                                          Debtor(s): DAYLEE GARCIA                               Case number: 23-16998-LMI


        [■] Real Property                                                            Check one below for Real Property:
                 [^Principal Residence                                                □Escrow is included in the regular payments
                 □other Real Property                                                 □The debtor(s) will pay □taxes           □insurance directly
         Address of Collateral:
         921 NE 199ST, Apt 107 , Miami, FI 33179

        □ Personal PropertyA^ehicle
         Description of Collateral:

         2. Creditor: CARMEL AT THE CALIFORNIA CLUB PROPERTY OWNERS ASSO
              Address: c/o BLG Association                     Arrearage/ Payoff on Petition Date     $9,718.41
                              Law, PLLC                        Arrears Payment (Cure)                             $194,37     /month (Months   11   to 60 )
                             301 W Platt St #375
                             Tampa, FL 33606                   Regular Payment (Maintain)                         $235.00     /month (Months   1    to 60   )

         Last 4 Digits of
         Account No.:

        Other:


        \m\Real Property                                                             Check one below for Real Property:
                 [^Principal Residence                                                □Escrow is included in the regular payments
                 □other Real Property                                                 □The debtor(s) will pay        □taxes    □insurance directly
         Address of Collateral:
         921 NE 199ST, Apt 107, Miami, FI 33179

        □ Personal Property/Vehicle
         Description of Collateral:
            B. VALUATION OF COLLATERAL;                         H NONE
            C. LIEN AVOIDANCE |1 NONE
            D. SURRENDER OF COLLATERAL:                           1] NONE
            E. DIRECT PAYMENTS                     □ NONE
            Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution from the Chapter 13 Trustee.
                The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
                confirmation of this plan the automatic stay be terminated in rem as to tlie debtor(s) and in rem and in personam as to any
                codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.
                             Name of Creditor              Last 4 Digits of Account No. Description of Collateral (Address. Vehicle, etc.)
                             CARMAX AUTO FINANCE 2686                                        2017 CADILLAC ATS
                        1.

                             CAPITAL ONE AUTO              1001                              2020 HYUNDAI ELANTRA
                        2- FINANCE
IV.         TREATMENT OF FEES AND PRIORITY CLAIMS fas defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]                                    |1 NONE
V.          TREATMENT OF UNSECURED NONPRIORITY CREDITORS                                            □ NONE
               A. Pay               $2.45        /month (Months      1    to 10 )
                    Pay            $19.51        /month (Months 11        to 60 )
                        Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

               B. □ If checked, the Debtor(s) will amend/modify to pay 100% to all allowed vmsecured nonpriority claims.
               C. SEPARATELY CLASSIFIED:                    1) NONE

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VI.         STUDENT LOAN PROGRAM                  [f] NONE
VII.        EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                S NONE
VIII.       INCOME TAX RETURNS AND REFUNDS:

                 d] Dcbtor(s) will not provide tax returns unless requested by any interested party pursuant to 11 U.S.C. § 521.
IX.         NON-STANDARD PLAN PROVISIONS □ NONE
               Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
               Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.
                Confirmation of the plan shall not bar Debtor's counsel from filing an Application for Compensation for any work performed
                before confinnation.
           □ Mortgage Modification Mediation


                        PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

  I declare that the foregoing chapter 13 plan is true and correct under penally of perjury.


                                             Debtor                                                          Joint Debtor
                                                             Date                                                                  Date
 DAYLEE GARCIA




 /s/ Jose A. Blanco, Esq.
                                                         Date
      Attorney with permission to sign on
       Debtor(s)’ behalf who certifies that
       the contents of the plan have been
         reviewed and approved by the
                                    1
                       Debtor(s).


  By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
  order of the provisions in this Chapter 13 plan are Identical to those contained in Local Form Chapter 13 Plan and the plan
  contains no nonstandard provisions other than those set out in paragraph IX.




^This certification requirement applies even if the Debtor(s) have executed a limited power of attorney to Debtor(s)’ attorney audiorizing the
attorney to sign documents on the Debtor(s)' behalf.




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